       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                       Entered 08/07/20 14:02:28                    Page 1 of 66


 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                            Check if this is an
                                                                        Chapter 13
                                                                                                                            amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                         About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Sebastian
     government-issued picture
                                       First Name                                              First Name
     identification (for example,
     your driver's license or          Rafael
     passport).                        Middle Name                                             Middle Name

                                       Madero
     Bring your picture                Last Name                                               Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                              Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                              First Name
     years
                                       Middle Name                                             Middle Name
     Include your married or
     maiden names.
                                       Last Name                                               Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   0        3       1    8    xxx – xx –
     number or federal                 OR                                                      OR
     Individual Taxpayer
     Identification number             9xx – xx –                                              9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
        Case 20-32127-mvl7 Doc 1 Filed 08/07/20                           Entered 08/07/20 14:02:28                         Page 2 of 66



Debtor 1     Sebastian Rafael Madero                                                     Case number (if known)

                                 About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                 I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers      Riverside Financial
     (EIN) you have used in      Business name                                               Business name
     the last 8 years
                                 Business name                                               Business name
     Include trade names and
     doing business as names
                                 Business name                                               Business name

                                             –                                                           –
                                 EIN                                                         EIN

                                             –                                                           –
                                 EIN                                                         EIN
5.   Where you live                                                                          If Debtor 2 lives at a different address:

                                 5765 Bozeman Dr
                                 Number      Street                                          Number      Street




                                 Plano                          TX       75024
                                 City                           State    ZIP Code            City                           State    ZIP Code

                                 Collin
                                 County                                                      County

                                 If your mailing address is different from                   If Debtor 2's mailing address is different
                                 the one above, fill it in here. Note that the               from yours, fill it in here. Note that the court
                                 court will send any notices to you at this                  will send any notices to you at this mailing
                                 mailing address.                                            address.



                                 Number      Street                                          Number      Street


                                 P.O. Box                                                    P.O. Box


                                 City                           State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing        Check one:                                                  Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                   Over the last 180 days before filing this
                                        petition, I have lived in this district longer              petition, I have lived in this district longer
                                        than in any other district.                                 than in any other district.

                                        I have another reason. Explain.                             I have another reason. Explain.
                                        (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                        Venue is convenient




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                           Entered 08/07/20 14:02:28                    Page 3 of 66



Debtor 1     Sebastian Rafael Madero                                                 Case number (if known)


 Part 2:      Tell the Court About Your Bankruptcy Case

7.   The chapter of the         Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you        for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                             Chapter 7

                                       Chapter 11

                                       Chapter 12

                                       Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                District                                                 When                    Case number
                                                                                                MM / DD / YYYY

                                District                                                 When                    Case number
                                                                                                MM / DD / YYYY
                                District                                                 When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                Debtor                                                               Relationship to you
    you, or by a business
    partner, or by an           District                                                 When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                Debtor                                                               Relationship to you

                                District                                                 When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it as part of this bankruptcy petition.




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                 Page 4 of 66



Debtor 1     Sebastian Rafael Madero                                                   Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    debtor or a debtor as            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    defined by 11 U.S.C.
    § 1182(1)?                            No.   I am not filing under Chapter 11.
    For a definition of small
                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    business debtor, see
                                                the Bankruptcy Code.
    11 U.S.C. § 101(51D).
                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State          ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                   Page 5 of 66



Debtor 1     Sebastian Rafael Madero                                                     Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                            Entered 08/07/20 14:02:28                   Page 6 of 66



Debtor 1     Sebastian Rafael Madero                                                   Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                         Entered 08/07/20 14:02:28                        Page 7 of 66



Debtor 1     Sebastian Rafael Madero                                                 Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                X /s/ Sebastian Rafael Madero                               X
                                   Sebastian Rafael Madero, Debtor 1                            Signature of Debtor 2

                                   Executed on 08/07/2020                                       Executed on
                                               MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                         Entered 08/07/20 14:02:28                     Page 8 of 66



Debtor 1     Sebastian Rafael Madero                                                Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Mark S Rubin / Kelli L Johnson                                  Date 08/07/2020
                                   Signature of Attorney for Debtor                                        MM / DD / YYYY


                                   Mark S Rubin / Kelli L Johnson
                                   Printed name
                                   Rubin & Associates PC
                                   Firm Name
                                   13601 Preston Rd
                                   Number          Street
                                   Suite 500E




                                   Dallas                                                     TX              75240
                                   City                                                       State           ZIP Code


                                   Contact phone (214) 760-7777                     Email address


                                   17361550/24053317
                                   Bar number                                                 State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                           page 8
           Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                       Entered 08/07/20 14:02:28                                     Page 9 of 66


B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                   DALLAS DIVISION
In re Sebastian Rafael Madero                                                                                                       Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $3,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                      Entered 08/07/20 14:02:28               Page 10 of 66


B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   08/07/2020                         /s/ Mark S Rubin / Kelli L Johnson
                      Date                            Mark S Rubin / Kelli L Johnson             Bar No. 17361550/24053317
                                                      Rubin & Associates PC
                                                      13601 Preston Rd
                                                      Suite 500E
                                                      Dallas TX 75240
                                                      Phone: (214) 760-7777 / Fax: (214) 760-9100
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                     Entered 08/07/20 14:02:28                             Page 11 of 66


 Fill in this information to identify your case and this filing:
 Debtor 1             Sebastian                Rafael                   Madero
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
          Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                     $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     GMC                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Sierra 1500
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2016                                                                      entire property?                        portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 45,000                                 At least one of the debtors and another            $26,150.00                               $26,150.00
Other information:
2016 GMC Sierra 1500 (approx. 45,000                        Check if this is community property
miles)                                                      (see instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 1
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                       Entered 08/07/20 14:02:28                             Page 12 of 66



Debtor 1         Sebastian Rafael Madero                                                             Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................             $26,150.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,365.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Electronics                                                                                                              $515.00


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothing & Accessories                                                                                                   $300.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               Jewelry                                                                                                                  $100.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                                   Entered 08/07/20 14:02:28                                            Page 13 of 66



Debtor 1          Sebastian Rafael Madero                                                                                               Case number (if known)

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $2,280.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Prosperity Bank 2765 Checking account                                                                                                                 $22.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

                                                  Interactive Brokers account                                                                                                                                     $345.00
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                               % of ownership:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                     page 3
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                           Entered 08/07/20 14:02:28                 Page 14 of 66



Debtor 1         Sebastian Rafael Madero                                                           Case number (if known)

                                               LEH Ride Inc
                                               (assets: $0; liabilities: $816786)
                                               dba:
                                               100% Equity Value Capital Management (No longer in
                                               Operation as of Jan 2019)
                                               97.5% Equity Patron Restaurant Group LLC (No longer
                                               in Operation as of Feb 2020)
                                               85% Equity Aji Rotisserie LLC (No longer in operation
                                               as of Dec 2019)
                                               97.5% Equity Al Ojo Del amo LLC (No longer in
                                               operation as of Feb 2019)
                                               66% Equity Commissary Hall LLC (Currently operating
                                               below profitability)                                                   80%                              $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:

                                           401(k) or similar plan: 401(k)                                                                         $12,907.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 4
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                  Entered 08/07/20 14:02:28                  Page 15 of 66



Debtor 1        Sebastian Rafael Madero                                                      Case number (if known)

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.....................................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                          Beneficiary:                      Surrender or refund value:

                                                  Life Insurance $672k                   Family                                            $3,500.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                Schedule A/B: Property                                                       page 5
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                  Entered 08/07/20 14:02:28                                  Page 16 of 66



Debtor 1         Sebastian Rafael Madero                                                                             Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............
                                              Amounts owed from profit-split with Align Acquisitions LLC and                                                                    $0.00
                                                       Value Capital Management LLC

35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $16,774.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                  Entered 08/07/20 14:02:28                                  Page 17 of 66



Debtor 1          Sebastian Rafael Madero                                                                            Case number (if known)

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                          Entered 08/07/20 14:02:28                                      Page 18 of 66



Debtor 1           Sebastian Rafael Madero                                                                                    Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                           $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $26,150.00

57. Part 3: Total personal and household items, line 15                                                               $2,280.00

58. Part 4: Total financial assets, line 36                                                                         $16,774.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $45,204.00              property total                 +          $45,204.00


63. Total of all property on Schedule A/B.                                                                                                                                                    $45,204.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                 Entered 08/07/20 14:02:28             Page 19 of 66



Debtor 1    Sebastian Rafael Madero                                        Case number (if known)


6.   Household goods and furnishings (details):

     Household Furnishings                                                                                    $365.00

     Furniture in storage                                                                                   $1,000.00




Official Form 106A/B                              Schedule A/B: Property                                         page 9
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                     Page 20 of 66


 Fill in this information to identify your case:
 Debtor 1            Sebastian            Rafael                 Madero
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $26,150.00                     $0.00           11 U.S.C. § 522(d)(2)
2016 GMC Sierra 1500 (approx. 45,000                                              100% of fair market
miles)                                                                            value, up to any
(1st exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit

Brief description:                                         $26,150.00                     $0.00           11 U.S.C. § 522(d)(5)
2016 GMC Sierra 1500 (approx. 45,000                                              100% of fair market
miles)                                                                            value, up to any
(2nd exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                          Entered 08/07/20 14:02:28                 Page 21 of 66



Debtor 1      Sebastian Rafael Madero                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $365.00                  $365.00           11 U.S.C. § 522(d)(3)
Household Furnishings                                                        100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                       $365.00                    $0.00           11 U.S.C. § 522(d)(5)
Household Furnishings                                                        100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(3)
Furniture in storage                                                         100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                   $0.00           11 U.S.C. § 522(d)(5)
Furniture in storage                                                         100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                       $515.00                  $515.00           11 U.S.C. § 522(d)(3)
Electronics                                                                  100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 7                                                    applicable statutory
                                                                             limit

Brief description:                                       $515.00                    $0.00           11 U.S.C. § 522(d)(5)
Electronics                                                                  100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 7                                                    applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Clothing & Accessories                                                       100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 11                                                   applicable statutory
                                                                             limit

Brief description:                                       $300.00                    $0.00           11 U.S.C. § 522(d)(5)
Clothing & Accessories                                                       100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 11                                                   applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(4)
Jewelry                                                                      100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                          Entered 08/07/20 14:02:28                 Page 22 of 66



Debtor 1      Sebastian Rafael Madero                                                Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                    $0.00           11 U.S.C. § 522(d)(5)
Jewelry                                                                      100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                       $22.00                    $22.00           11 U.S.C. § 522(d)(5)
Prosperity Bank 2765 Checking account                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $345.00                  $345.00           11 U.S.C. § 522(d)(5)
Interactive Brokers account                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    18
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
LEH Ride Inc                                                                 100% of fair market
(assets: $0; liabilities: $816786)                                           value, up to any
dba:                                                                         applicable statutory
100% Equity Value Capital Management                                         limit
(No longer in Operation as of Jan 2019)
97.5% Equity Patron Restaurant Group LLC
(No longer in Operation as of Feb 2020)
85% Equity Aji Rotisserie LLC (No longer in
operation as of Dec 2019)
97.5% Equity Al Ojo Del amo LLC (No longer
in operation as of Feb 2019)
66% Equity Commissary Hall LLC
(Currently operating below profitability)
Line from Schedule A/B:    19

Brief description:                                     $12,907.00               $12,907.00          11 U.S.C. § 522(d)(10)(E)
401(k)                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,500.00                $3,500.00          11 U.S.C. § 522(d)(11)(C)
Life Insurance $672k                                                         100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit

Brief description:                                      $3,500.00                   $0.00           11 U.S.C. § 522(d)(5)
Life Insurance $672k                                                         100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                              Entered 08/07/20 14:02:28           Page 23 of 66


                                                 UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF TEXAS
                                                          DALLAS DIVISION
  IN RE: Sebastian Rafael Madero                                                           CASE NO

                                                                                           CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                  Scheme Selected: Federal
                                                                Gross             Total          Total         Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances          Equity               Exempt    Non-Exempt


1.      Real property                                          $0.00               $0.00         $0.00               $0.00          $0.00

3.      Motor vehicles (cars, etc.)                       $26,150.00          $26,547.00         $0.00               $0.00          $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00               $0.00         $0.00               $0.00          $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $1,365.00               $0.00     $1,365.00           $1,365.00          $0.00

7.      Electronics                                          $515.00               $0.00      $515.00              $515.00          $0.00

8.      Collectibles of value                                  $0.00               $0.00         $0.00               $0.00          $0.00

9.      Equipment for sports and hobbies                       $0.00               $0.00         $0.00               $0.00          $0.00

10.     Firearms                                               $0.00               $0.00         $0.00               $0.00          $0.00

11.     Clothes                                              $300.00               $0.00      $300.00              $300.00          $0.00

12.     Jewelry                                              $100.00               $0.00      $100.00              $100.00          $0.00

13.     Non-farm animals                                       $0.00               $0.00         $0.00               $0.00          $0.00

14.     Unlisted pers. and household items-                    $0.00               $0.00         $0.00               $0.00          $0.00
        incl. health aids

16.     Cash                                                   $0.00               $0.00         $0.00               $0.00          $0.00

17.     Deposits of money                                     $22.00               $0.00       $22.00               $22.00          $0.00

18.     Bonds, mutual funds or publicly                      $345.00               $0.00      $345.00              $345.00          $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00               $0.00         $0.00               $0.00          $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00               $0.00         $0.00               $0.00          $0.00
        instruments

21.     Retirement or pension accounts                    $12,907.00               $0.00    $12,907.00          $12,907.00          $0.00

22.     Security deposits and prepayments                      $0.00               $0.00         $0.00               $0.00          $0.00

23.     Annuities                                              $0.00               $0.00         $0.00               $0.00          $0.00

24.     Interests in an education IRA                          $0.00               $0.00         $0.00               $0.00          $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00               $0.00         $0.00               $0.00          $0.00

26.     Patents, copyrights, and other                         $0.00               $0.00         $0.00               $0.00          $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00               $0.00         $0.00               $0.00          $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00               $0.00         $0.00               $0.00          $0.00
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                              Entered 08/07/20 14:02:28           Page 24 of 66


                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION
  IN RE: Sebastian Rafael Madero                                                           CASE NO

                                                                                           CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                  Scheme Selected: Federal
                                                           Gross                  Total          Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances          Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                   $0.00         $0.00               $0.00          $0.00

30.     Other amounts someone owes you                     $0.00                   $0.00         $0.00               $0.00          $0.00

31.     Interests in insurance policies                $3,500.00                   $0.00     $3,500.00           $3,500.00          $0.00

32.     Any int. in prop. due you from                     $0.00                   $0.00         $0.00               $0.00          $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                   $0.00         $0.00               $0.00          $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                   $0.00         $0.00               $0.00          $0.00
        of every nature

35.     Any financial assets you did                       $0.00                   $0.00         $0.00               $0.00          $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                   $0.00         $0.00               $0.00          $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                   $0.00         $0.00               $0.00          $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                   $0.00         $0.00               $0.00          $0.00
        tools of trade

41.     Inventory                                          $0.00                   $0.00         $0.00               $0.00          $0.00

42.     Interests in partnerships or                       $0.00                   $0.00         $0.00               $0.00          $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                   $0.00         $0.00               $0.00          $0.00
        other compilations

44.     Any business-related property not                  $0.00                   $0.00         $0.00               $0.00          $0.00
        already listed

47.     Farm animals                                       $0.00                   $0.00         $0.00               $0.00          $0.00

48.     Crops--either growing or harvested                 $0.00                   $0.00         $0.00               $0.00          $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                   $0.00         $0.00               $0.00          $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                   $0.00         $0.00               $0.00          $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                   $0.00         $0.00               $0.00          $0.00
        not listed

53.     Any other property of any kind not                 $0.00                   $0.00         $0.00               $0.00          $0.00
        already listed

                    TOTALS:                           $45,204.00              $26,547.00    $19,054.00          $19,054.00          $0.00
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                            Entered 08/07/20 14:02:28                  Page 25 of 66


                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION
  IN RE: Sebastian Rafael Madero                                                              CASE NO

                                                                                              CHAPTER        7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                    Market Value                     Lien               Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                    $0.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien             Equity       Non-Exempt Amount

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                      $0.00            $0.00             $0.00                      $0.00




                                                                Summary
            A. Gross Property Value (not including surrendered property)                                              $45,204.00

            B. Gross Property Value of Surrendered Property                                                                 $0.00

            C. Total Gross Property Value (A+B)                                                                       $45,204.00

            D. Gross Amount of Encumbrances (not including surrendered property)                                      $26,547.00

            E. Gross Amount of Encumbrances on Surrendered Property                                                         $0.00

            F. Total Gross Encumbrances (D+E)                                                                         $26,547.00

            G. Total Equity (not including surrendered property) / (A-D)                                              $19,054.00

            H. Total Equity in surrendered items (B-E)                                                                      $0.00

            I. Total Equity (C-F)                                                                                     $19,054.00

            J. Total Exemptions Claimed                  (Wild Card Used: $367.00, Available: $13,533.00)             $19,054.00

            K. Total Non-Exempt Property Remaining (G-J)                                                                    $0.00
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                Entered 08/07/20 14:02:28                   Page 26 of 66


  Fill in this information to identify your case:
  Debtor 1             Sebastian             Rafael                 Madero
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $26,547.00              $26,150.00            $397.00
Capital One Auto Finance
Creditor's name
                                                 2016 GMC Sierra 1500
1680 Capital One Dr                              (approx. 45,000 miles)
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
McLean                   VA      22102               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred           8/25/18         Last 4 digits of account number        3     0    7    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $26,547.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                             $26,547.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
           Case 20-32127-mvl7 Doc 1 Filed 08/07/20                              Entered 08/07/20 14:02:28                     Page 27 of 66


  Fill in this information to identify your case:
  Debtor 1             Sebastian             Rafael                 Madero
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                  $700.00             $700.00                $0.00
IRS CIO
Priority Creditor's Name                                   Last 4 digits of account number
PO Box 7346                                                When was the debt incurred?          2018
Number       Street
Philadelphia PA 19101 7346                                 As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
           Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                      Page 28 of 66



Debtor 1       Sebastian Rafael Madero                                                          Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                        $26,330.00
360 Equipment Finance LLC                                   Last 4 digits of account number         2     6    2     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
300 Beardsley Ln Suite D201
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX      78746
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business Debt
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $3,226.00
Ambit Energy                                                Last 4 digits of account number         6     7    3     5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 660462
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX      75266
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business Debt
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 29 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                             Unknown
Capital One Bankruptcy                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 30285
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Salt Lake City UT 84130 0285                                 Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             $2,208.00
Chase Bank Bankruptcy                                    Last 4 digits of account number       4    8    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                            $19,977.00
Chase Bank Bankruptcy                                    Last 4 digits of account number       9    0    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 30 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                             $5,000.00
Citi Bank Bankruptcy                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 78045
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                               $984.00
Corral Tran Singh LLP                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1010 Lamar St Suite 1160
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77002
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                             $1,512.00
Credit One Bank                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 98873
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 31 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                            $12,295.00
Discover Financial Service LLC                           Last 4 digits of account number       5    4    5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 30943
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                             $7,495.00
East Shore Equities LLC                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5788 Merrick Rd Suite 205
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Massapequa                    NY      11758
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                             Unknown
First Data Global Leasing                                Last 4 digits of account number       3    0    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 407092
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Ft Lauderdale                 FL      33340
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 32 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                             Unknown
First Data Global Leasing                                Last 4 digits of account number       5    0    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 407092
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Ft Lauderdale                 FL      33340
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                           $350,488.00
FSH Galleria Plaza                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
17714 Bannister St Suite 3
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75252
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                            $29,267.00
Kabbage Inc                                              Last 4 digits of account number       5    6    4    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
925 B Peachtree St NE Suite 1688
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30309
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 33 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                             Unknown
Kalamata Capital Group                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
co Berkovitch and Bouskila PLLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1330 6th Ave Suite 600B                                      Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10019
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                             $8,479.00
Lane Law Firm                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6200 Savoy Suite 1150
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77036
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                            $66,285.00
Main Street Merchant Services Inc                        Last 4 digits of account number       6    5    7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
360 Motor Pkwy Suite 200B
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Hauppage                      NY      11788
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 34 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                            $22,000.00
Miami Dade Code Enforcement                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
111 NW First St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Miami                         FL      33128
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                            $10,000.00
Scott McKenzie                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5565 Pacific Blvd Suite 3816
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Boca Raton FLL 33433                                         Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                               $100.00
Six Flags                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5171
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Westborough                   MA      01581
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 35 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                           $102,010.00
Susquehanna Salt Lake LLC                                Last 4 digits of account number       1    6    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
co Guest and Associates PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
627 Mercury Ave                                              Contingent
                                                             Unliquidated
                                                             Disputed
Duncanville                   TX      75137
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                           $115,608.00
The Fundworks LLC                                        Last 4 digits of account number       1    4    7    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
co Berkovitch and Bouskila PLLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1330 6th Ave Suite 600B                                      Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10019
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                             $9,140.00
Time Payment Corp                                        Last 4 digits of account number       2    7    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1600 District Ave Suite 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Burlington                    MA      01803
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                   Page 36 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                            $27,787.00
US Department of Education                               Last 4 digits of account number       7    5    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 7860
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Madison                       WI      53707
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                            $18,908.00
Vader Mountain Capital                                   Last 4 digits of account number       9    2    7    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5 West 37th St Suite 1100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                             $8,800.00
Wells Fargo                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 51193
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Los Angeles                   CA      90051
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                            Entered 08/07/20 14:02:28                    Page 37 of 66



Debtor 1       Sebastian Rafael Madero                                                    Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


ADP LLC                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
One ADP Blvd                                                Line   4.22 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Roseland                        NJ      07068
City                            State   ZIP Code


Berkovitch and Bouskila PLLC                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1330 6th Ave Suite 600B                                     Line   4.15 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
New York                        NY      10019
City                            State   ZIP Code


Kalamata Capital Group                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
80 Broad St Suite 1210                                      Line   4.15 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
New York                        NY      10004
City                            State   ZIP Code


Susquehanna Salt Lake LLC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
136 E S Temple                                              Line   4.21 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Salt Lake City                  UT      84111
City                            State   ZIP Code


The Fundworks LLC                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
15260 Ventura Ave Suite 1520                                Line   4.22 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Sherman Oaks                    CA      91403
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 11
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                     Page 38 of 66



Debtor 1       Sebastian Rafael Madero                                                 Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                $700.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                $700.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.             $27,787.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $820,112.00


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $847,899.00




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 12
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                Entered 08/07/20 14:02:28                    Page 39 of 66


 Fill in this information to identify your case:
 Debtor 1            Sebastian            Rafael                 Madero
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                Entered 08/07/20 14:02:28                   Page 40 of 66


 Fill in this information to identify your case:
 Debtor 1            Sebastian           Rafael                  Madero
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                            Page 41 of 66


 Fill in this information to identify your case:
     Debtor 1              Sebastian            Rafael                 Madero
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Unemployed
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                          Entered 08/07/20 14:02:28                            Page 42 of 66



Debtor 1        Sebastian Rafael Madero                                                                                               Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00
     5e. Insurance                                                                                              5e.                  $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00
     5g. Union dues                                                                                             5g.                  $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00
     8e. Social Security                                                                                        8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.         $0.00 +                      =                                                         $0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.                $0.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                Entered 08/07/20 14:02:28                      Page 43 of 66


 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Sebastian              Rafael                 Madero                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $827.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $50.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                            Entered 08/07/20 14:02:28            Page 44 of 66



Debtor 1      Sebastian Rafael Madero                                                  Case number (if known)

                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                    $69.00
     6b. Water, sewer, garbage collection                                                            6b.

     6c. Telephone, cell phone, Internet, satellite, and                                  (Internet) 6c.                    $26.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $300.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                     $40.00
10. Personal care products and services                                                              10.                    $70.00
11. Medical and dental expenses                                                                      11.                    $25.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                   $150.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                           15a.                   $67.00
     15b.   Health insurance                                                                         15b.                  $160.00
     15c.   Vehicle insurance                                                                        15c.                  $164.00
     15d.   Other insurance. Specify:                                                                15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2016 GMC                                                   17a.                  $634.00
     17b.   Car payments for Vehicle 2                                                               17b.

     17c.   Other. Specify:                                                                          17c.

     17d.   Other. Specify:                                                                          17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                              Entered 08/07/20 14:02:28                    Page 45 of 66



Debtor 1      Sebastian Rafael Madero                                                          Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $2,832.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $2,832.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $0.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $2,832.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.              ($2,832.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                                       Entered 08/07/20 14:02:28                                    Page 46 of 66


 Fill in this information to identify your case:
 Debtor 1                Sebastian                     Rafael                        Madero
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                         $45,204.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                              $45,204.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                            $26,547.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                             $700.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $847,899.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $875,146.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                 $0.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $2,832.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                  Page 47 of 66



Debtor 1      Sebastian Rafael Madero                                                      Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                            Entered 08/07/20 14:02:28                 Page 48 of 66


 Fill in this information to identify your case:
 Debtor 1           Sebastian           Rafael               Madero
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Sebastian Rafael Madero                          X
        Sebastian Rafael Madero, Debtor 1                      Signature of Debtor 2

        Date 08/07/2020                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                 Entered 08/07/20 14:02:28                      Page 49 of 66


 Fill in this information to identify your case:
 Debtor 1            Sebastian               Rafael               Madero
                     First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        7507 Senoma Valley Dr                              From   11/2018                                                        From
        Number      Street                                                      Number      Street
                                                           To     10/2019                                                        To


        Frisco                    TX       75035
        City                      State    ZIP Code                             City                      State   ZIP Code


        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        6085 Water St #2266                                From    1/2018                                                        From
        Number      Street                                                      Number      Street
                                                           To     10/2018                                                        To


        Plano                     TX       75024
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                Entered 08/07/20 14:02:28                     Page 50 of 66



Debtor 1       Sebastian Rafael Madero                                                   Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income          Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.      (before deductions
                                                                             and exclusions                                   and exclusions

From January 1 of the current year until              Wages, commissions,            $16,176.00       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,             $8,731.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $33,768.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income           Gross income
                                                  Describe below.             from each source     Describe below.             from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until          Unemp Comp                          $5,800.00
the date you filed for bankruptcy:



For the last calendar year:
(January 1 to December 31, 2019 )
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2018 )
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                 Entered 08/07/20 14:02:28                      Page 51 of 66



Debtor 1         Sebastian Rafael Madero                                                       Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Capital One Auto Finance                                                           $634.00            $26,547.00             Mortgage
Creditor's name                                                                                                              Car
                                                               monthly
1680 Capital One Dr                                                                                                          Credit card
Number      Street
                                                                                                                             Loan repayment
                                                                                                                             Suppliers or vendors
McLean                               VA       22102                                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
       Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                      Page 52 of 66



Debtor 1       Sebastian Rafael Madero                                                       Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                Nature of the case                          Court or agency                               Status of the case
Susquehanna Salt Lake LLC                 Civil                                       Susquehanna Salt Lake LLC
                                                                                                                                              Pending
                                                                                      Court Name
                                                                                      co Guest and Associates PC                              On appeal
                                                                                      Number     Street
Case number 2020-000161-2                                                             627 Mercury Ave                                         Concluded

                                                                                      Duncanville                TX      75137
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Main Street Merchant Services             Civil                                       Main Street Merchant Services Inc
                                                                                                                                              Pending
Inc                                                                                   Court Name
                                                                                      360 Motor Pkwy Suite 200B                               On appeal
                                                                                      Number     Street
Case number                                                                                                                                   Concluded

                                                                                      Hauppage                   NY      11788
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
East Shore Equities LLC                   Civil                                       East Shore Equities LLC
                                                                                                                                              Pending
                                                                                      Court Name
                                                                                      5788 Merrick Rd Suite 205                               On appeal
                                                                                      Number     Street
Case number                                                                                                                                   Concluded

                                                                                      Massapequa                 NY      11758
                                                                                      City                       State   ZIP Code


Case title                                Nature of the case                          Court or agency                               Status of the case
Personal Injury Case                      Personal injury settled for $7056.
                                                                                                                                              Pending
                                          Represented by Berman Law                   Court Name
                                          Group                                                                                               On appeal
                                                                                      Number     Street
Case number                                                                                                                                   Concluded


                                                                                      City                       State   ZIP Code




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                 Entered 08/07/20 14:02:28                  Page 53 of 66



Debtor 1         Sebastian Rafael Madero                                                     Case number (if known)

Case title                                   Nature of the case                       Court or agency                             Status of the case
The Fundworks LLC                            Civil                                    The Fundworks LLC
                                                                                                                                            Pending
                                                                                      Court Name
                                                                                      co Berkovitch and Bouskila PLLC                       On appeal
                                                                                      Number     Street
Case number 122886-2019                                                               1330 6th Ave Suite 600B                               Concluded

                                                                                      New York                 NY      10019
                                                                                      City                     State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 5
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28                    Page 54 of 66



Debtor 1       Sebastian Rafael Madero                                                     Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Rubin & Associates PC                                                                                           or transfer was     payment
Person Who Was Paid                                                                                             made

13601 Preston Rd                                                                                                   07/31/2020           $3,500.00
Number      Street

Suite 500E

Dallas                        TX       75240
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Lane Law Firm                                        Paid for representation in Chapter 11                      or transfer was     payment
Person Who Was Paid                                  bankruptcy                                                 made

6200 Savoy Suite 1150                                                                                                1/27/20            $13,500.00
Number      Street




Houston                       TX       77036
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                   Entered 08/07/20 14:02:28                  Page 55 of 66



Debtor 1        Sebastian Rafael Madero                                                            Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                          Last 4 digits of account       Type of account or          Date account     Last balance
                                                          number                         instrument                  was closed,      before closing
                                                                                                                     sold, moved,     or transfer
                                                                                                                     or transferred
Wells Fargo
Name of Financial Institution
                                                          XXXX- 8      8    1      3            Checking                    2019           $0.00
                                                                                                Savings
Number      Street
                                                                                                Money market
                                                                                                Brokerage
                                                                                                Other

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                   Who else has or had access to it?                Describe the contents                Do you still
                                                                                                                                         have it?

Public Storage                                                                                      Furniture $1000                          No
Name of Storage Facility                           Name                                                                                      Yes

Number      Street                                 Number     Street




City                        State   ZIP Code       City                    State     ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                             Entered 08/07/20 14:02:28              Page 56 of 66



Debtor 1       Sebastian Rafael Madero                                                 Case number (if known)

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

           No
           Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
         Case 20-32127-mvl7 Doc 1 Filed 08/07/20                                Entered 08/07/20 14:02:28                         Page 57 of 66



Debtor 1       Sebastian Rafael Madero                                                         Case number (if known)

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
LEH Ride Inc                                     Restaurant                                          Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 4     5 – 4         4    0   8   5    2    7
8025 Ohio Dr #3302                               Name of accountant or bookkeeper
Number     Street
                                                                                                     Dates business existed

                                                                                                     From      7/25/18            To   2/2020
Plano                     TX      75024
City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                           Entered 08/07/20 14:02:28                 Page 58 of 66



Debtor 1     Sebastian Rafael Madero                                                Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ Sebastian Rafael Madero                         X
   Sebastian Rafael Madero, Debtor 1                      Signature of Debtor 2

   Date     08/07/2020                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 10
        Case 20-32127-mvl7 Doc 1 Filed 08/07/20                               Entered 08/07/20 14:02:28                  Page 59 of 66


 Fill in this information to identify your case:
 Debtor 1              Sebastian          Rafael                  Madero
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                 Check if this is an
 (if known)
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the             Did you claim the property
                                                                        property that secures a debt?                 as exempt on Schedule C?

      Creditor's        Capital One Auto Finance                              Surrender the property.                      No
      name:                                                                   Retain the property and redeem it.           Yes
      Description of    2016 GMC Sierra 1500 (approx. 45,000                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        miles)
      securing debt:                                                          Retain the property and [explain]:



 Part 2:           List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                               Will this lease be assumed?

      None.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
      Case 20-32127-mvl7 Doc 1 Filed 08/07/20                          Entered 08/07/20 14:02:28                 Page 60 of 66



Debtor 1     Sebastian Rafael Madero                                                Case number (if known)

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.



X /s/ Sebastian Rafael Madero                        X
   Sebastian Rafael Madero, Debtor 1                     Signature of Debtor 2

   Date 08/07/2020                                       Date
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 2
        Case 20-32127-mvl7 Doc 1 Filed 08/07/20                     Entered 08/07/20 14:02:28          Page 61 of 66


                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:   Sebastian Rafael Madero                                                  CASE NO

                                                                                   CHAPTER         7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/7/2020                                           Signature    /s/ Sebastian Rafael Madero
                                                                     Sebastian Rafael Madero




Date                                                    Signature
Case 20-32127-mvl7 Doc 1 Filed 08/07/20    Entered 08/07/20 14:02:28   Page 62 of 66



                         360 Equipment Finance LLC
                         300 Beardsley Ln Suite D201
                         Austin TX 78746



                         ADP LLC
                         One ADP Blvd
                         Roseland NJ      07068



                         Ambit Energy
                         PO Box 660462
                         Dallas TX 75266



                         Attorney General State of Texas
                         Collections Div Bankruptcy
                         PO Box 12017 OAG CSC MC 38
                         Austin TX 78711 2017


                         Berkovitch and Bouskila PLLC
                         1330 6th Ave Suite 600B
                         New York NY 10019



                         Capital One Bankruptcy
                         PO Box 30285
                         Salt Lake City UT 84130 0285



                         Capital One Auto Finance
                         1680 Capital One Dr
                         McLean VA 22102



                         Chase Bank Bankruptcy
                         PO Box 15298
                         Wilmington DE 19850



                         Citi Bank Bankruptcy
                         PO Box 78045
                         Phoenix AZ 85062
Case 20-32127-mvl7 Doc 1 Filed 08/07/20    Entered 08/07/20 14:02:28   Page 63 of 66



                         Corral Tran Singh LLP
                         1010 Lamar St Suite 1160
                         Houston TX 77002



                         Credit One Bank
                         PO Box 98873
                         Las Vegas NV 89193



                         Discover Financial Service LLC
                         PO Box 30943
                         Salt Lake City UT 84130



                         East Shore Equities LLC
                         5788 Merrick Rd Suite 205
                         Massapequa NY 11758



                         First Data Global Leasing
                         PO Box 407092
                         Ft Lauderdale FL 33340



                         FSH Galleria Plaza
                         17714 Bannister St      Suite 3
                         Dallas TX 75252



                         IRS CIO
                         PO Box 7346
                         Philadelphia     PA   19101 7346



                         Kabbage Inc
                         925 B Peachtree St NE       Suite 1688
                         Atlanta GA 30309



                         Kalamata Capital Group
                         co Berkovitch and Bouskila PLLC
                         1330 6th Ave Suite 600B
                         New York NY 10019
Case 20-32127-mvl7 Doc 1 Filed 08/07/20     Entered 08/07/20 14:02:28   Page 64 of 66



                         Kalamata Capital Group
                         80 Broad St Suite 1210
                         New York NY 10004



                         Lane Law Firm
                         6200 Savoy    Suite 1150
                         Houston TX 77036



                         Main Street Merchant Services Inc
                         360 Motor Pkwy Suite 200B
                         Hauppage NY 11788



                         Miami Dade Code Enforcement
                         111 NW First St
                         Miami FL 33128



                         Scott McKenzie
                         5565 Pacific Blvd Suite 3816
                         Boca Raton FLL 33433



                         Six Flags
                         PO Box 5171
                         Westborough   MA    01581



                         State Comptroller of Public Accounts
                         111 E 17th St
                         Austin, TX 78774-0100



                         Susquehanna Salt Lake LLC
                         co Guest and Associates PC
                         627 Mercury Ave
                         Duncanville TX 75137


                         Susquehanna Salt Lake LLC
                         136 E S Temple
                         Salt Lake City UT 84111
Case 20-32127-mvl7 Doc 1 Filed 08/07/20    Entered 08/07/20 14:02:28   Page 65 of 66



                         Texas Workforce Commission
                         TEC Bldg, Tax Dept
                         Austin, TX 78778



                         The Fundworks    LLC
                         co Berkovitch    and Bouskila PLLC
                         1330 6th Ave     Suite 600B
                         New York NY      10019


                         The Fundworks LLC
                         15260 Ventura Ave Suite 1520
                         Sherman Oaks CA 91403



                         Time Payment Corp
                         1600 District Ave Suite 200
                         Burlington MA 01803



                         United States Attorney
                         1100 Commerce, Suite 300
                         Dallas, TX 75242



                         US Attorney General
                         Department of Justice
                         950 Pennsylvania Ave NW
                         Washington DC 20530-0001


                         US Attorney General
                         Department of Justice
                         Main Justice Building
                         10th and Constitution Ave NW
                         Washington DC 20530-0001

                         US Department of Education
                         PO Box 7860
                         Madison WI 53707



                         Vader Mountain Capital
                         5 West 37th St Suite 1100
                         New York NY 10018
Case 20-32127-mvl7 Doc 1 Filed 08/07/20   Entered 08/07/20 14:02:28   Page 66 of 66



                         Veterans Administration
                         1400 N Valley Mills Dr
                         Waco, TX 76799



                         Wells Fargo
                         PO Box 51193
                         Los Angeles CA    90051



                         William T Neary US Trustee
                         1100 Commerce St Room 9C60
                         Dallas TX 75242
